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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

Inre: ROBERT GIBSON, Case No. 25-14047-SMG
Chapter 13
Debtor.
/

MOTION FOR EXTENSION OF TIME TO CORRECT FILING DEFICIENCIES

COMES NOW Debtor, ROBERT GIBSON, and files this Motion for Extension of Time to
Correct Filing Deficiencies, and states:

1. The Debtor filed a “skeleton” Chapter 13 petition on April 14, 2025.

2. The Court entered a Notice of Deadlines to Correct Filing Deficiencies due today.

3. The undersigned has needs additional information to complete the schedules and requests
additional time.

WHEREFORE the Debtor respectfully requests that the Court extend the time to correct filing
deficiencies to May 5, 2025.

I HEREBY CERTIFY that a copy of the foregoing was provided either electronically or via U.S.

Mail to all parties on the matrix this 28th day of April 2025.

ROBERT ALLEN GIBSON
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